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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION


 LUCAS WALL,

                       Plaintiff,

 v.                                                   Case No: 6:21-cv-975-PGB-DCI

 CENTERS FOR DISEASE
 CONTROL & PREVENTION,
 DEPARTMENT OF HEALTH &
 HUMAN SERVICES, GREATER
 ORLANDO AVIATION
 AUTHORITY and CENTRAL
 FLORIDA REGIONAL
 TRANSPORTATION
 AUTHORITY,

                       Defendants.
                                           /

                                           ORDER

         This cause comes before the Court on the following filings:

         1.     Plaintiff Lucas Wall’s Motion for Summary Judgment on Counts I–

                XII of the Amended Complaint (Doc. 230);

         2.     Defendants the Centers for Disease Control and Prevention (the

                “CDC”) and the Department of Health and Human Services’

                (“HHS”)1 Cross-Motion for Summary Judgment and Opposition to

                Plaintiff’s Motion for Summary Judgment (Doc. 263);



 1    The CDC is a component of the HHS. The Court refers to them collectively as “the Federal
      Defendants.”
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         3.      Plaintiff’s Combined Opposition to the Federal Defendants’ Motion

                 for Summary Judgment and Reply in Support of his Motion for

                 Summary Judgment (Doc. 269); and

         4.      The Federal Defendants’ Reply in Support of their Motion for

                 Summary Judgment (Doc. 270).

 Upon consideration, Plaintiff’s Motion for Summary Judgment is due to be denied,

 and the Federal Defendants’ Motion for Summary Judgment is due to be granted.

 I.      BACKGROUND

         In response to the COVID-19 pandemic, the CDC issued two “orders”2 to

 quell the transmission of the deadly SARS-CoV-2 virus. The first is the federal

 transportation mask mandate (“FTMM”), which requires individuals traveling via

 public transportation to wear a mask. See Requirement for Persons to Wear Masks

 While on Conveyances and at Transportation Hubs, 86 Fed. Reg. 8,025 (Feb. 3,

 2021). The second is the international traveler testing requirement (“ITTR”),

 which requires international travelers to obtain a negative COVID-19 test prior to

 departure to the United States from a foreign country. See Requirement for

 Negative Pre-Departure COVID-19 Test Result or Documentation of Recovery

 From COVID-19 for all Airline or Other Aircraft Passengers Arriving Into the




 2    The fact that the CDC classed the FTMM and the ITTR as “orders” rather than “rules” is
      immaterial. The FTMM and the ITTR obviously operate as generally applicable rules, and the
      Court will treat it as such. See Mendoza v. Perez, 754 F.3d 1002, 1021 (D.C. Cir. 2014) (“A rule
      is legislative if it supplements a statute, adopts a new position inconsistent with existing
      regulations, or otherwise effects a substantive change in existing law or policy.”).



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 United States From Any Foreign Country, 86 Fed. Reg. 69,256 (Dec. 7, 2021).3 The

 CDC justified these regulations under Section 361(a) of the Public Health Service

 Act (“PHSA”), which provides:

                The Surgeon General, with the approval of the Secretary [of
                the HHS],4 is authorized to make and enforce such regulations
                as in his judgment are necessary to prevent the introduction,
                transmission, or spread of communicable diseases from
                foreign countries into the States or possessions, or from one
                State or possession into any other State or possession. For
                purposes of carrying out and enforcing such regulations, the
                Surgeon General may provide for such inspection, fumigation,
                disinfection, sanitation, pest extermination, destruction of
                animals or articles found to be so infected or contaminated as
                to be sources of dangerous infection to human beings, and
                other measures, as in his judgment may be necessary.

 42 U.S.C. § 264(a).

        Plaintiff initiated this action on June 7, 2021, challenging the CDC’s

 enactment of the FTMM and the ITTR. (Doc. 1). On December 26, 2021, Plaintiff

 filed the Amended Complaint, which asserts the following causes of action against

 the Federal Defendants: the FTMM and the ITTR violate the PHSA (Counts I and

 IX); the FTMM and the ITTR violate the Administrative Procedure Act (“APA”)



 3   This is the third version of the ITTR. The CDC originally issued the ITTR on January 28, 2021,
     and it amended the regulation on November 5, 2021. See 86 Fed. Reg. 7,387 (Jan. 28, 2021);
     86 Fed. Reg. 61,252 (Nov. 5, 2021).
 4   Although the statute vests authority in the Surgeon General, Congress abolished the Office of
     the Surgeon General and transferred its functions to the Secretary of Health, Education, and
     Welfare in 1966. See Reorganization Plan No. 3 of 1966, 31 Fed. Reg. 8,855 (June 25, 1966).
     Congress redesignated the Department of Health, Education, and Welfare as the HHS in 1979.
     See Department of Education Organization Act, Pub. L. No. 96-88, 93 Stat. 668 (1979)
     (codified as 20 U.S.C. § 3508). Congress reestablished the Office of the Surgeon General in
     1987, but the Secretary of the HHS retained the transferred functions. See Statement of
     Organization, Functions and Delegations of Authority, 52 Fed. Reg. 11,754-03 (Apr. 10, 1987);
     see also 42 U.S.C. § 203. The Secretary of the HHS, in turn, delegated his enforcement and
     implementation authority to the CDC. See 42 C.F.R. §§ 70.2, 71.31(b), 71.32(b).



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 (Counts II, III, X, and XI); the FTMM and the ITTR violate the nondelegation

 doctrine, the Tenth Amendment, the Fifth Amendment, and the right to travel

 (Counts IV, V, VI, VII, XII); and the FTMM violates the Air Carrier Access Act

 (“ACAA”) (Count VIII). (Doc. 188, ¶¶ 304–412).5 Plaintiff and the Federal

 Defendants have filed competing requests for summary judgment, and the matter

 is now ripe for review.

 II.      STANDARD OF REVIEW

          To prevail on a summary judgment motion, the movant must show “that

 there is no genuine dispute as to any material fact and the movant is entitled to

 judgment as a matter of law.” FED. R. CIV. P. 56(a); see also Celotex Corp. v.

 Catrett, 477 U.S. 317, 322 (1986). “An issue of fact is ‘material’ if, under the

 applicable substantive law, it might affect the outcome of the case. An issue of fact

 is ‘genuine’ if the record taken as a whole could lead a rational trier of fact to find


 5     To the extent that Plaintiff’s Motion for Summary Judgment raises claims that do not appear
       in his Amended Complaint, the Court properly disregards them. See Gilmour v. Gates,
       McDonald & Co., 382 F.3d 1312, 1314–15 (11th Cir. 2004) (per curiam); Newman v. Ormond,
       396 F. App’x 636, 639 (11th Cir. 2010) (per curiam). Plaintiff’s position—that his contentions
       regarding the Food, Drug, and Cosmetic Act (“FDCA”), the International Covenant on Civil
       and Political Rights (“ICCPR”), and the Convention on International Civil Aviation (“CICA”)
       merely “buttress[]” some of the claims raised in his Amended Complaint—is weak; evaluation
       of those contentions would require the Court to undertake an independent review of the FDCA
       and the treaties at issue—it is not part and parcel of the arbitrary and capricious analysis. (Doc.
       269, pp. 17–19; see Doc. 230, pp. 17–21, 34–35). And, to the extent the Amended Complaint
       refers to the FDCA, the ICCPR, and the CICA, it violates the Court’s December 18, 2021, Order,
       which dismissed the original Complaint without prejudice (as to some claims and parties) and
       prohibited Plaintiff from adding new claims on repleader. (Doc. 187, pp. 28–29).

       Furthermore, to the extent Plaintiff raises any new arguments in his response to the Federal
       Defendants’ Motion for Summary Judgment and his reply in support of his Motion for
       Summary Judgment, the Court properly disregards these arguments. Starbuck v. R.J.
       Reynolds Tobacco Co., 349 F. Supp. 3d 1223, 1229 (M.D. Fla. 2018) (“A party cannot raise
       new arguments in support of summary judgment for the first time in a reply brief.”).



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 for the nonmoving party.” Harrison v. Culliver, 746 F.3d 1288, 1298 (11th Cir.

 2014).

       The Court must “view the evidence and all factual inferences therefrom in

 the light most favorable to the non-moving party, and resolve all reasonable doubts

 about the facts in favor of the non-movant.” Davila v. Gladden, 777 F.3d 1198, 1203

 (11th Cir. 2015) (quoting Carter v. City of Melbourne, 731 F.3d 1161, 1166 (11th Cir.

 2013) (per curiam)). “A mere ‘scintilla’ of evidence supporting the opposing party’s

 position will not suffice; there must be enough of a showing that the jury could

 reasonably find for that party.” Brooks v. Cnty. Comm’n of Jefferson Cnty., 446

 F.3d 1160, 1162 (11th Cir. 2006) (quoting Walker v. Darby, 911 F.2d 1573, 1577

 (11th Cir. 1990)).




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 III.    DISCUSSION

         The nondelegation doctrine,6 Tenth Amendment,7 Fifth Amendment,8 right

 to travel,9 and ACAA10 claims all clearly lack merit. Accordingly, the Court focuses



 6    Where Congress has statutorily granted power to an agency and has provided the agency with
      an intelligible principle to guide executive discretion, the nondelegation doctrine is not
      offended. See J.W. Hampton, Jr., & Co. v. United States, 276 U.S. 394, 404–05 (1928); City
      of Arlington v. FCC, 569 U.S. 290, 301 (2013); cf. A.L.A. Schechter Poultry v. United States,
      295 U.S. 495, 541–42 (1935). By providing the goal “to prevent the introduction, transmission,
      or spread of communicable diseases,” Congress properly gave the CDC an intelligible principle
      to guide its judgments. 42 U.S.C. § 264(a).

 7    “The anticommandeering doctrine does not apply when” the government “evenhandedly
      regulates an activity in which both States and private actors engage.” Murphy v. NCAA, 138
      S. Ct. 1461, 1478 (2018). Because the FTMM applies to public and private mass transportation
      systems, Plaintiff’s Tenth Amendment challenge falls flat. 86 Fed. Reg. at 8,026, 8,028.
      Furthermore, the ITTR only applies to private international air travel—not state actors—and
      therefore the Tenth Amendment is inapplicable. Cf. New York v. United States, 505 U.S. 144,
      156–57 (1992) (“[T]he Tenth Amendment confirms that the power of the Federal Government
      is subject to limits that may, in a given instance, reserve power to the States. The Tenth
      Amendment thus directs us to determine, as in this case, whether an incident of state
      sovereignty is protected by a limitation on an Article I power.”).
 8    To qualify as a constitutionally protected, due process liberty interest, the interest must be
      “objectively, deeply rooted in history and tradition of the United States, and must be implicit
      in concept of ordered liberty, so that neither liberty nor justice would exist if it were
      sacrificed.” Kerry v. Din, 576 U.S. 86, 93 (2015) (plurality) (quoting Washington v.
      Glucksberg, 521 U.S. 702, 720–21 (1997)). Trying to fit the “right to travel free of a mask” into
      this definition is a useless endeavor.

 9    The fundamental right to travel primarily protects three things: (1) the “right to enter and
      leave another state,” (2) “the right to be treated fairly when temporarily present in another
      state,” and (3) the right to be treated the same as other state citizens when moving
      permanently to another state. Doe v. Moore, 410 F.3d 1337, 1348 (11th Cir. 2005) (citing Saenz
      v. Roe, 526 U.S. 489, 500 (1999)). Plaintiff is not barred from traveling to another state by
      virtue of not wearing a mask. A mere inconvenience caused by a reasonable government
      regulation is not enough to amount to a denial of this fundamental right. Id.

 10   Plaintiff’s ACAA claim fails on several grounds. First, the ACAA only applies to “air carriers”
      and the CDC is not an “air carrier.” 49 U.S.C. § 41705(a). Second, Plaintiff alleges that the
      FTMM discriminates against handicapped individuals; however, the FTMM explicitly
      exempts any “person with a disability who cannot wear a mask . . . because of a disability.” 86
      Fed. Reg. at 8,027. Further, the Eleventh Circuit has explained that the ACAA does not provide
      a private right of action except for a limited review when the Department of Transportation
      has abdicated its statutory duties, which is not relevant here. See Love v. Delta Air Lines, 310
      F.3d 1347, 1354, 1360 (11th Cir. 2002).



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 on the PHSA and APA claims, which present the following questions: (A) whether

 Section 361(a) of the PHSA permitted the CDC’s promulgation of the FTMM and

 the ITTR; and (B) if so, whether the CDC properly invoked the APA’s good cause

 exception.11

         A.      Did the PHSA Permit the CDC’s Promulgation of the FTMM
                 and ITTR?

         To answer the first question, the Court analyzes the CDC’s regulations under

 the Chevron doctrine, which proceeds in three “Steps.” The initial inquiry—Step

 Zero—is whether the application of the doctrine is proper. “Chevron deference is

 appropriate ‘when it appears that Congress delegated authority to the agency

 generally to make rules carrying the force of law, and that the agency interpretation

 claiming deference was promulgated in the exercise of that authority.’” Astrue v.

 Capato ex rel. B.N.C., 566 U.S. 541, 558 (2012) (quoting United States v. Mead

 Corp., 533 U.S. 218, 226–27 (2001)). “This approach ‘is premised on the theory

 that a statute’s ambiguity constitutes an implicit delegation from Congress to the



 11   On April 18, 2022, a court in this district vacated the FTMM. Health Freedom Def. Fund, Inc.
      et al. v. Biden, No. 8:21-cv-1693, 2022 WL 1134138 (M.D. Fla. Apr. 18, 2022). However, a
      “district court cannot be said to be bound by a decision of one of its brother or sister judges.”
      Fishman & Tobin, Inc. v. Tropical Shipping & Const. Co., Ltd., 240 F.3d 956, 965 (11th Cir.
      2001).

      Further, “[a] case becomes moot only when it is impossible for a court to grant any effectual
      relief whatever to the prevailing party.” Knox v. Serv. Emps. Int’l Union, Local 1000, 567 U.S.
      298, 307 (2012) (internal quotations omitted). That is, a case does not necessarily become
      moot simply because intervening events may make it impossible for a federal court to issue
      the exact form of relief that Plaintiff requests. Church of Scientology of Cal. v United States,
      506 U.S. 9, 13 (1992) (Stevens, J.). In the Second Amended Complaint, Plaintiff requests that
      the Court vacate the FTMM and enjoin the CDC from any further rules “requiring any person
      wear a face mask.” (Doc. 188, p. 87). Therefore, “[t]he availability of this possible remedy is
      sufficient to prevent this case from being moot.” Id.



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 agency to fill in the statutory gaps.’” King v. Burwell, 576 U.S. 473, 485 (2015)

 (quoting FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 159 (2000)).

       If the doctrine applies, then the Court advances to Step One, the

 interpretation of the agency’s organic statute to determine whether it is

 ambiguous. “If the intent of Congress is clear, that is the end of the matter; for the

 court, as well as the agency, must give effect to the unambiguously expressed intent

 of Congress.” Chevron, U.S.A, Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837,

 842–43 (1984). “If, however, the court determines Congress has not directly

 addressed the precise question at issue, the court does not simply impose its own

 construction on the statute, as would be necessary in the absence of an

 administrative interpretation.” Id. “Rather, if the statute is silent or ambiguous

 with respect to the specific issue, the question for the court is whether the agency’s

 answer is based on a permissible construction of the statute,” or Step Two of the

 doctrine. Id.

       After examining each Step of the Chevron doctrine, the Court concludes that

 the FTMM and the ITTR are valid exercises of the CDC’s authority under Section

 361(a) of the PHSA.

                 1.   Chevron Step Zero

       Congress clearly intended to delegate authority to the CDC to make rules

 regarding public health with the force of law. Section 361(a) of the PHSA

 specifically states that “[t]he Surgeon General, with the approval of the Secretary

 [of the HHS], is authorized to make and enforce such regulations.” 42 U.S.C. §



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 264(a).12 The statute also empowers the agency to “make and enforce such

 regulations as . . . are necessary to prevent the introduction, transmission, or

 spread of communicable diseases,” further revealing Congress’ intent to give the

 CDC power to make binding regulations.13 Nat’l Cable & Telecomm. Ass’n v. Brand

 X Internet Servs., 545 U.S. 967, 980–81 (2005) (Thomas, J.) (“[T]he authority to

 execute and enforce, . . . and to prescribe such rules and regulations as may be

 necessary . . . give the [agency] the authority to promulgate binding legal rules.”

 (internal citations and quotations omitted)).

         However, even if Congress clearly delegated power to the CDC to create

 binding rules, the Court must also ensure that such delegation does not run afoul

 of the major questions doctrine. In essence, the major questions doctrine stands

 for the proposition that courts “expect Congress to speak clearly when authorizing

 an agency to exercise powers of ‘vast economic and political significance.’” Ala.

 Ass’n of Realtors v. Dep’t of Health & Hum. Servs., 141 S. Ct. 2485, 2489 (2021)

 (quoting Utility Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014)).

         The FTMM and the ITTR are not questions of “deep ‘economic and political

 significance’” that demand explicit congressional delegations of power. King, 576


 12   See supra note 4.

 13   While examining the procedure used in the promulgation of the rule is an excellent tool to
      determine whether it was meant to have the force of law, the procedure is only a proxy for the
      true question—whether Congress intended the agency to act with the force of law—which may
      only be ascertained from the language of the statute alone. Cf. Mead, 533 U.S. at 231 (“[T]he
      want of [formal] procedure here does not decide the case, for we have sometimes found
      reasons for Chevron deference even when no such administrative formality was required and
      none was afforded.”). The Court reviews the procedure the CDC used for the FTMM and the
      ITTR in depth later in this Order.



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  U.S. at 485–86. Unlike the CDC’s moratorium on eviction, which obviously placed

  a large financial burden on landlords, the masking and testing requirements place

  negligible financial burdens on travelers. Ala. Ass’n of Realtors, 141 S. Ct. at 2489.

  In fact, the CDC correctly pointed out that the FTMM helps prevent the imposition

  of economic burdens by stymying the spread of COVID-19 and, consequently,

  avoiding future lockdowns and resulting losses. 86 Fed. Reg. at 8,029. Further, the

  CDC’s regulations do not intrude into a particular domain of state law. Ala. Ass’n

  of Realtors, 141 S. Ct. at 2489. Instead, the regulations deal with a matter of public

  health relating to uniquely federal issues—interstate and foreign commerce. See,

  e.g., Heart of Atlanta Motel, Inc. v. United States, 379 U.S. 241, 258 (1964); United

  States v. Darby, 312 U.S. 100, 118–19 (1941); Gibbons v. Ogden, 22 U.S. 1, 89–91

  (1824).

        Moreover, the FTMM and the ITTR clearly fall within the CDC’s public

  health domain. Cf. King, 576 U.S. at 486 (“It is especially unlikely that Congress

  would have delegated this decision to the IRS, which has no expertise in crafting

  health insurance policy of this sort.”). The CDC targeted the spread of the highly

  contagious, airborne SARS-CoV-2 virus via air travel by requiring all passengers to

  wear a mask and by requiring negative COVID-19 pre-departure tests for

  international fliers seeking entry into the United States. 86 Fed. Reg. at 8,026; 86

  Fed. Reg. at 69,256–57. The fact that the CDC operated within its area of expertise

  bolsters the Court’s conclusion here: the CDC’s authority does not run afoul of the

  major questions doctrine.



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               2.    Chevron Step One

        Section 361(a) of the PHSA is clearly unclear. On the one hand, the statutory

  text indicates a broad conferral of authority upon the CDC to issue any public

  health measure effective in “prevent[ing] the introduction, transmission, or spread

  of communicable diseases.” 42 U.S.C. § 264(a). Indeed, the title of Section 361,

  “Regulations to control communicable diseases,” “suggests a broad authority,” and

  the first sentence of Section 361(a) gives the CDC the authority “to make and

  enforce such regulations as . . . are necessary,” without limitation. § 264(a); WEN

  W. SHEN, CONG. RSCH. SERV., R46758, SCOPE OF CDC AUTHORITY UNDER SECTION

  361 OF THE PUBLIC HEALTH SERVICE ACT (PHSA) 27 (2021).

        It follows that the second sentence does not limit the scope of the first; such

  a construction would not only conflict with the expansive grant of power in the first

  sentence, but it would also read restrictive language into the second. See Lindh v.

  Murphy, 521 U.S. 320, 336 (1997) (favoring an interpretation that “accords more

  coherence” to the statutory provisions); ANTONIN SCALIA & BRYAN A. GARNER,

  READING LAW: THE INTERPRETATION OF LEGAL TEXTS 155–57 (2012) (“The

  provisions of a text should be interpreted in a way that renders them compatible,

  not contradictory.”). Rather, the second sentence clarifies the breadth of the first

  by enumerating various “tools” at the CDC’s disposal “[f]or purposes of carrying

  out and enforcing such regulations” and concluding with the open-ended phrase

  “and other measures, as in [its] judgment may be necessary.” § 264(a). That is, the




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  second sentence is not an exhaustive list; it is merely a list of examples or

  suggestions.

          On the other hand, the statutory context implies a narrow grant of authority

  to the CDC to issue public health measures related or incident to quarantine.

  Section 361 appears under Part G of the PHSA, titled “Quarantine and Inspection,”

  and “several other provisions within this part refer to regulations issued under

  Section 361 as ‘quarantine laws,’” “point[ing] to a narrower interpretation of

  Section 361 under which quarantine and isolation authority is the principal, if not

  the maximum, authority granted under the provision.” SHEN, supra, at 4–6, 27.14

          Additionally, subsections (b) through (d) of Section 361 “primarily set forth

  the CDC’s foreign and interstate quarantine and isolation authority, including the

  authority to apprehend, examine, and detain any individual reasonably believed to

  be infected with certain communicable diseases,” subject to “additional

  safeguards.” SHEN, supra, at 26 (internal quotations omitted); see § 264(b)–(d). It

  follows that, “insofar as Congress contemplated a use of subsection (a) authority

  beyond the enumerated measures to permit the quarantine of persons . . . it

  subjected the exercise of such authority to some limits,” and, given that the

  cornerstone of the subsequent subsections is the CDC’s “quarantine authority and



  14   The Congressional Research Service Report cites to Sections 311 and 322 of the PHSA, which
       do not appear in Part G of Title 42. 42 U.S.C. §§ 243(a), 249. The author notes: “The headings
       and subheadings referenced in this report are as they appear in the PHSA, and may differ
       slightly from the versions codified in Title 42 of the U.S. Code. Title 42 of the U.S. Code is a
       non-positive law title that has been editorially arranged by the Code’s editors and includes
       certain changes in the compiled laws’ text to facilitate their inclusion in the Code.” SHEN,
       supra, at 4 n.43.



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  its parameters, the enumerated list under subsection (a) could potentially be

  understood as a list of measures that facilitate or supplement quarantine efforts.”

  SHEN, supra, at 26; see Hall Street Associates, L.L.C. v. Mattel, Inc., 552 U.S. 576,

  586 (2008) (“Under that rule [of ejusdem generis], when a statute sets out a series

  of specific items ending with a general term, that general term is confined to

  covering subjects comparable to the specifics it follows.”).

        Adding even more obscurity to the statutory text, Section 361 does not define

  those listed terms in subsection (a), including, as is pertinent here, the words

  “sanitation” and “inspection.” Thus, the Court looks to the “ordinary,

  contemporary, and common meaning[s]” of those words at the time Congress

  enacted the statute in 1944. Patel v. United States Att’y Gen., 971 F.3d 1258, 1273

  (11th Cir. 2020) (quoting Artis v. Dist. of Columbia, 138 S. Ct. 594, 603 n.8

  (2018)); see SCALIA & GARNER, supra, at 80–89 (“Words must be given the

  meaning they had when the text was adopted.”). Because both terms have multiple

  permissible meanings, they are inherently ambiguous.

        Dictionaries from 1942 and 1946, respectively, define “sanitation” as: “[a]

  rendering sanitary; science of sanitary conditions; use of sanitary measures”; and

  “[t]he devising and applying of measures for preserving and promoting public

  health; the removal or neutralization of elements injurious to health; the practical

  application of sanitary science.” Sanitation, WEBSTER’S NEW INTERNATIONAL

  DICTIONARY OF THE ENGLISH LANGUAGE (1942); Sanitation, FUNK & WAGNALLS NEW




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  STANDARD DICTIONARY OF THE ENGLISH LANGUAGE (1946).15 These dictionaries

  further define “sanitary” as: “[o]f or pert. to health; for or relating to the

  preservation or restoration of health; occupied with measures or equipment for

  improving conditions that influence health; free from, or effective in preventing or

  checking, agencies injurious to health, esp. filth and infection; hygienic,” or “[a]

  water closet, urinal, or the like, fitted with sanitary plumbing”; and “[r]elating to

  the preservation of health, especially to hygiene and public health; concerned with

  sanitation,” or “[a] public water-closet or urinal, especially one equipped with

  sanitary fixtures.” Sanitary, WEBSTER’S NEW INTERNATIONAL DICTIONARY OF THE

  ENGLISH LANGUAGE (1942); Sanitary, FUNK & WAGNALLS NEW STANDARD

  DICTIONARY OF THE ENGLISH LANGUAGE (1946). Notably, modern dictionary

  definitions are substantially the same: “sanitation” means “the promotion of

  hygiene and prevention of disease by maintenance of sanitary conditions (as by

  removal of sewage or trash)” or “the act or process of making sanitary,” and

  “sanitary” means “of or relating to health,” “of, relating to, or used in the disposal

  especially of domestic waterborne waste,” or “characterized by or readily kept in

  cleanliness.” Sanitation, Sanitary, MERRIAM-WEBSTER (2022), https://www.

  merriam-webster.com/dictionary/sanitation, https://www.merriam-webster.com

  /dictionary/sanitary.

          A 1942 dictionary definition of “inspection” is: the “[a]ct or process of

  inspecting; a strict or prying examination”; a legal term for “[t]he critical


  15   (See Docs. 263-3, 263-4).



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  examination of something as a part of a legal proceeding[,] esp. . . . [t]he physical

  examination of the injured part of a person suing for damages for personal injury

  [or] [t]he examination of articles of commerce (under laws called inspection laws)

  to determine their fitness for transportation or sale”; “[i]nsight; perception”; or a

  military and naval term for an “[o]fficial examination to determine and report on

  the condition of personnel and material.” Inspection, WEBSTER’S NEW

  INTERNATIONAL DICTIONARY OF THE ENGLISH LANGUAGE (1942). The same

  dictionary defines “inspect” as: “[t]o look upon; to view closely and critically, esp.

  so as to ascertain quality or state, to detect errors, etc.; to scrutinize”; “[t]o view

  and examine officially, as troops, arms, etc.”; and “[t]o grade, as lumber.” Inspect,

  WEBSTER’S NEW INTERNATIONAL DICTIONARY OF THE ENGLISH LANGUAGE (1942).

  Again, these words’ meanings are substantially the same today: “inspection” is “the

  act of inspecting,” the “recognition of a familiar pattern leading to immediate

  solution of a mathematic problem,” or “a checking or testing of an individual

  against established standards”; and “inspect” is “to view closely in critical

  appraisal: look over,” “to examine officially,” or “to make an inspection.”

  Inspection,    Inspect,   MERRIAM-WEBSTER          (2022),    https://www.merriam-

  webster.com/dictionary/inspection, https://www.merriam-webster.com/dictiona

  ry/inspect.

        The legislative history is also ambiguous. A drafter of the PHSA “described

  Section 361[] . . . as concerning ‘quarantine and inspection and supersedes several

  complex, outmoded, and inadequate statutes on the subject.’” SHEN, supra, at 9



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  (quoting Alanson W. Wilcox, The Public Health Service Act, 1944, 7 SOC. SEC. BULL.

  15, 17 (1944)). At a 1944 congressional hearing, the drafters explained that the first

  sentence of Section 361(a) “express[es] ‘the gist of a long and complex provision of

  the act of February 14, 1893,’” noted that “the states had already ‘wholly

  withdrawn’ from foreign quarantine,” and stated that “as to interstate quarantine,

  the federal law would be ‘confined to matters pertaining to the interstate

  movement of people or things over which the States have both constitutional and

  practical difficulties in achieving effective control.’” Id. at 9–10 (quoting Hearing

  Before a Subcomm. on Interstate & Foreign Commerce on H.R. 3379: A Bill to

  Codify the Laws Relating to the Public Health Service, and for Other Purposes,

  78th Cong. 138–39 (1944) (statements of Alanson W. Wilcox, Assistant General

  Counsel, Federal Security Agency, and Thomas Parran Jr., Surgeon General)).

  Regarding the second sentence, the drafters testified that it “expressly authorize[s]

  the [agency] to make inspections and take other steps necessary in the

  enforcement of quarantine.” Id. at 10. And, as to subsections (b) through (d) of

  Section 361, the drafters “designed [them] to clarify, perhaps enlarge, the authority

  with respect to the apprehension and detention of individuals.” Id.

        However, at the same hearing, the drafters “emphasized that ‘these

  provisions are written in broader terms in order to make it possible to cope with

  emergency situations which we cannot now foresee.’” Id. And, “[i]n a separate

  committee hearing, then-Surgeon General Thomas Parran Jr. similarly echoed the

  view that the authority under Section 361 ‘may be very important because of the



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  possibility that strange diseases may be introduced in the country and become a

  threat,’ and ‘flexibility in dealing with such contingencies would be very helpful.’”

  Id. (quoting Hearing before a Subcomm. on Educ. & Labor, 78th Cong. 6 (1944)

  (statement of Thomas Parran Jr., Surgeon General)).

        Furthermore, Congress only “substantively” amended Section 361 once, as

  part of the Public Health Security and Bioterrorism Preparedness and Response

  Act of 2002, “to bolster the nation’s ability to respond effectively to bioterrorist

  threats and other public health emergencies following the anthrax attacks in the

  fall of 2001.” Id. at 11. The amendments expanded the agency’s authority—

  specifically, the agency’s quarantine authority (i.e., they eliminated a provision

  that predicated the issuance of quarantine rules on recommendations by the

  National Advisory Health Council, and they permitted the quarantine of

  individuals “in the precommunicable stage, if the disease would be likely to cause

  a public health emergency if transmitted to other individuals”). Id. Thus, the

  legislative history supports either the broad reading of the statutory text or the

  narrow reading, and the Court concludes that Congress has not directly addressed

  whether Section 361(a) of the PHSA permits the CDC’s promulgation of the FTMM

  and the ITTR.

               3.    Chevron Step Two

        Cognizant that it is not the judiciary’s role to impose its own construction on

  the statute, the Court finds that the CDC’s interpretation of the PHSA is

  permissible and that it did not act arbitrarily and capriciously in issuing the FTMM



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  and the ITTR. Given the ambiguity of the statutory text, the statutory context, and

  the legislative history, the CDC’s broad reading of Section 361(a) is certainly

  reasonable.

        Moreover, even setting aside Section 361(a)’s wide-ranging catch-all

  provision for other “necessary” measures, it is reasonable to categorize the FTMM

  as a “sanitation” measure. As a matter of common sense, masks control the number

  of particles inhaled from the public airspace by the wearer and the number of

  particles exhaled by the wearer into the public airspace. In other words, masks

  have two functions: (1) they protect the wearer from breathing in harmful air

  particles (e.g., construction workers frequently use masks to protect themselves

  from inhaling asbestos, sawdust, or other harmful substances); and (2) they

  prevent the wearer from breathing out harmful air particles (e.g., surgeons, nurses,

  and other operating room staff use masks for the patient’s benefit). In this way,

  masks (to varying degrees) promote the public health by checking the transmission

  of airborne viruses, such as SARS-CoV-2, and thus fit within the definitions of

  “sanitation.”

        Likewise, it is reasonable to categorize the ITTR as an “inspection” measure.

  Antigen tests “detect structural features of the outside of the [SARS-CoV-2] virus

  called antigens—small proteins that make up the virus—that may be present in a

  patient’s sample,” often obtained by a nasopharyngeal swab, an anterior nasal

  swab, or a saliva collection cup. Johns Hopkins Ctr. for Health Sec., Antigen Tests,

  COVID-19 Testing Toolkit (2022), https://www.centerforhealthsecurity.org/



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  covid-19TestingToolkit/testing-basics/types-of-COVID-19-tests/diagnostic-tests/

  antigen-tests.html. Molecular tests, or nucleic acid amplification tests, identify the

  ribonucleic acids that comprise the genetic material of the SARS-CoV-2 virus from

  specimens collected from the patient’s upper or lower respiratory tract and then

  amplify, or produce many copies of, the virus’ genetic material, if any is present in

  the patient’s specimen. Ctrs. for Disease Control & Prevention, Nucleic Acid

  Amplification Tests (NAATs), COVID-19 (June 14, 2021), https://www.cdc.gov/

  coronavirus/2019-ncov/lab/naats.html.           Logically,   these   tests     are   critical

  examinations of patients’ samples to uncover the presence of the SARS-CoV-2

  virus and therefore qualify as “inspections” of those patients.

        The broad reading of Section 361(a) makes sense from a practical, policy

  perspective, too. The narrow reading of the PHSA constrains the CDC’s ability to

  expediently address health crises, such as the COVID-19 pandemic, to the

  detriment of the public health. And, most importantly, Congress delegated the

  administration of the PHSA, “in light of everyday realities,” to the CDC, the nation’s

  health protection experts, not to federal judges, who are neither “experts in the

  field” nor “part of either political branch of the Government”:

               When a challenge to an agency construction of a statutory
               provision, fairly conceptualized, really centers on the wisdom
               of the agency’s policy, rather than whether it is a reasonable
               choice within a gap left open by Congress, the challenge must
               fail. In such a case, federal judges—who have no
               constituency—have a duty to respect legitimate policy choices
               made by those who do. The responsibilities for assessing the
               wisdom of such policy choices and resolving the struggle
               between competing views of the public interest are not judicial




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                 ones: “Our Constitution vests such responsibilities in the
                 political branches.”

  Chevron, 467 U.S. at 865–66 (quoting TVA v. Hill, 437 U.S. 153, 195 (1978)).

          However, “[n]ot only must an agency’s decreed result be within the scope of

  its lawful authority, but the process by which it reaches that result must be logical

  and rational.” Allentown Mack Sales & Serv., Inc v. NLRB, 522 U.S. 359, 374

  (1998). “It follows that agency action is lawful only if it rests ‘on a consideration of

  the relevant factors.’” Michigan v. EPA, 576 U.S. 743, 750 (2015) (Scalia, J.)

  (quoting Motor Vehicle Mfrs. Ass’n of United States, Inc. v. State Farm Mut.

  Automobile Ins. Co., 463 U.S. 29, 43 (1983)). Ultimately, a court may not

  substitute its judgment, but instead “simply ensures that the agency has acted

  within a zone of reasonableness.” FCC v. Prometheus Radio Project, 141 S. Ct. 1150,

  1158 (2021).

          Relying on several scientific journals, the CDC explained the specific benefits

  of wearing a mask as (1) reducing the “emission of virus-laden droplets . . . by

  blocking exhaled virus” and (2) reducing the “inhalation of these droplets . . .

  through filtration.” 86 Fed. Reg. at 8,028. Then, citing to seven different studies

  that “confirmed the benefit of universal masking in community level analyses,” the

  CDC concluded that masking would be beneficial when people are exposed to

  others for prolonged periods in places that are not amenable to social distancing.16

  Id. The CDC observed that these risk factors are especially prevalent during mass


  16   These studies were conducted on wide range of subjects, from insulated hospital systems and
       a German city to nationwide studies from Canada and the United States. Id.



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  transportation, as people spend extended periods of time in security lines, crowded

  terminals, and tight seating arrangements on airplanes, buses, and trains. Id. at

  8,029. Further, the CDC relied on an economic analysis of American data to

  support its prediction that the masking requirement could “prevent the need for

  lockdowns and reduce associated losses of up to $1 trillion or about 5% of the gross

  domestic product.” Id. at 8,028.

        When giving the CDC the power to create rules under Section 361(a) of the

  PHSA, Congress stated that the CDC may “make and enforce such regulations in

  [its] judgment [that] are necessary.” § 264(a) (emphasis added). The use of the

  word “necessary” gives the CDC leeway to decide what the relevant factors are in a

  particular situation, but “an agency may not ‘entirely fail to consider an important

  aspect of the problem’ when deciding whether regulation is appropriate.”

  Michigan, 576 U.S. at 752 (2015) (quoting State Farm Mut. Automobile Ins. Co.,

  463 U.S. at 43). Here, as discussed above, the CDC looked at extensive scientific

  research supporting the use of masks to prevent the spread of COVID-19, especially

  when other preventative tools were impossible to implement effectively, such as

  social distancing. 86 Fed. Reg. at 8,028–29. Further, the CDC not only relied on

  scientific data for the benefits of the mask regulation, but it also relied on the cost

  to the entire country’s economy if the regulation was not implemented. Cf.

  Michigan, 576 U.S. at 752 (“No regulation is ‘appropriate’ if it does significantly

  more harm than good.”). Therefore, the CDC properly considered the relevant

  factors and appropriately based the FTMM on the evidence before the agency.



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          The Court recognizes that the CDC was making a prediction about the effects

  of the FTMM—but this is exactly when courts should defer to agency expertise. At

  the time of the FTMM’s enactment, the novel SARS-CoV-2 virus continued to

  mutate into new variants (and, in fact, new variants continue to emerge to this

  day), some even more lethal than the original strain, and treatment of COVID-19

  was at the forefront of scientific discovery. 17 86 Fed. Reg at 8,028. Thus, the

  COVID-19 pandemic was exactly the type of situation imagined by Congress where

  courts should refrain from imposing its own judgment and give appropriate

  deference to the agency’s scientific expertise in determining the best way to stem

  the spread of the unprecedented disease. Baltimore Gas & Elec. Co. v. Nat. Res.

  Def. Council, Inc., 462 U.S. 87, 103 (1983) (O’Connor, J.) (“[A] reviewing court

  must remember that the [agency] is making predictions, within its area of special

  expertise, at the frontiers of science. When examining this kind of scientific

  determination, as opposed to simple findings of fact, a reviewing court must

  generally be at its most deferential.”).

          Many of the same observations above apply equally to the ITTR, which the

  CDC supported in three parts. First, the CDC discussed how SARS-CoV-2 is spread

  among the population. 86 Fed. Reg. at 69,258. The CDC again cited to a variety of

  scientific articles, including the one titled “Transmission from People Without



  17   While the Court notes that there are still new variants emerging today, the Court does not rely
       on any post-hoc rationalizations in arriving at its decision. SEC v. Chenery Corp., 332 U.S.
       194, 196 (1947) (holding a court reviewing an agency’s decision “must judge the propriety of
       [the agency] action solely by the grounds invoked by the agency”).



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  Covid-19 Symptoms.” Id. at 69,258 n. 15. Second, the CDC addressed the new

  concern facing the United States during the pandemic: the emergence of the

  Omicron variant. Id. at 69,259. At the time, it was not clear how the Omicron

  variant would affect vaccinated or previously infected people because the variant

  “contains more changes in the spike protein than have been observed in other

  variants.” Id. Properly relying on the limited scientific studies available, the CDC

  predicted that vaccines may give the individual “reduced protection from

  infection.” Id. Therefore, due to this “potential danger to public health posed by

  this newly identified variant,” the CDC mandated a pre-departure testing

  requirement for all international travelers, regardless of vaccination status. Id. at

  69,259–60.

        When promulgating the ITTR, the CDC properly considered the relevant

  factors, assessed the evidence before it, and relied on its scientific expertise to

  determine the best way to prevent the Omicron variant from undermining the

  nation’s progress in combating the pandemic. Given that SARS-CoV-2 may be

  spread by unvaccinated individuals, including those who may be asymptomatic,

  and the limited scientific evidence on how vaccines may be less effective against

  the new variant allowing vaccinated individuals to contribute to the spread, the

  CDC predicted that the new Omicron variant could easily be spread by both the

  vaccinated and unvaccinated population. Id. As stated previously, these

  predictions were at the “frontiers of science,” and, as such, they warrant the “most

  deferential” judicial review. Baltimore Gas & Elec. Co., 462 U.S. at 103.



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          In conclusion, when issuing the FTMM and the ITTR, the CDC made

  permissive policy decisions, provided adequate evidence to support the decisions,

  and provided sound reasoning to connect the evidence with their policy decisions,

  and there is no reason to suspect the CDC passed the FTMM or the ITTR for

  pretextual reasons. Cf. Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2575–76

  (2019) (“We are presented, in other words, with an explanation for agency action

  that is incongruent with what the record reveals about the agency’s priorities and

  decisionmaking [sic] process.”). Therefore, the CDC did not abuse its discretion in

  enacting the FTMM and the ITTR.

          Accordingly, the Court finds that the CDC properly promulgated the FTMM

  and the ITTR under Section 361(a) of the PHSA and grants summary judgment in

  favor of the Federal Defendants on these claims.

          B.     Did the CDC Properly Invoke the APA’s Good Cause
                 Exception?

          The Court now shifts to the second question presented here: whether, in

  promulgating the FTMM and the ITTR, the CDC appropriately bypassed the

  standard notice-and-comment rulemaking procedure under the APA’s good cause

  exception.18 The answer: yes.

          Sections 553(b) and (d) of the APA requires an agency to publish a general

  notice of proposed rulemaking in the Federal Register at least 30 days prior to the

  proposed rule’s effective date, and, after publication, Section 553(c) requires the



  18   See supra note 2.



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  agency to “give interested persons an opportunity to participate in the

  [rulemaking] through the submission of written data, views, or arguments with or

  without opportunity for oral presentation.” 5 U.S.C. § 553(b)–(d). However, there

  is an exception to the notice-and-comment rulemaking procedure “when the

  agency for good cause finds (and incorporates the finding and a brief statement of

  reasons therefor in the rules issued) that notice and public procedure thereon are

  impracticable, unnecessary, or contrary to the public interest.” § 553(b)(B). While

  “the good cause exception should be read narrowly,” “[t]he exception is, however,

  an important safety valve to be used where delay would do real harm.” U.S. v.

  Dean, 604 F.3d 1275, 1279 (11th Cir. 2010) (internal quotations omitted).

  “Emergencies, though not the only situations constituting good cause, are the most

  common”; in other words, an emergency is not a prerequisite to the invocation of

  the good cause exception. Id. at 1281.

        Here, the FTMM, issued on February 3, 2021, explicitly invokes the good

  cause exception: “Considering the public health emergency caused by COVID-19,

  it would be impracticable and contrary to the public’s health, and by extension the

  public’s interest, to delay the issuance and effective date of this Order.” 86 Fed.

  Reg. at 8,030. It also describes the nature of the emergency:

              There is currently a pandemic of respiratory disease . . . caused
              by a novel coronavirus (SARS-CoV-2). As of January 27, 2021,
              there have been 99,638,507 confirmed cases of COVID-19
              globally, resulting in more than 2,141,000 deaths. As of
              January 27, 2021, there have been over 25,000,000 cases
              identified in the United States and over 415,000 deaths due to
              the disease. New SARS-CoV-2 variants have emerged in




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               recent weeks, including at least one with evidence of increased
               transmissibility.

  Id. at 8,028. Similarly, the latest iteration of the ITTR, issued on December 7, 2021,

  states:

               To reduce introduction and spread of current and future
               SARS-CoV-2 variants into the United States at a time when
               global air travel is increasing, CDC must take quick and
               targeted action to help curtail the introduction and spread of
               the Omicron variant into the United States. As of December 2,
               2021, [the World Health Organization] has indicated that 23
               countries have reported cases of the Omicron variant, many
               of which were associated with international travelers. . . . there
               is good cause to dispense with prior public notice and
               comment and a delay in effective date. Considering the rapid
               and unpredictable developments in the public health
               emergency caused by COVID-19, including the recently
               identified emergent Omicron variant, it would be
               impracticable and contrary to the public’s health, and by
               extension the public’s interest, to delay the issuance and
               effective date of this Amended Order. Further delay could
               increase risk of transmission and importation of additional
               undetected cases of SARS-CoV-2 Omicron variant or other
               emerging variants through passengers.

  86 Fed. Reg. at 69,260 (internal citations omitted). The CDC’s “brief statement[s]

  of reasons” speak for themselves. The highly contagious character and the

  devastating effects of the SARS-CoV-2 virus demanded expeditious action by the

  CDC. Frankly, if battling this elusive enemy does not rise to the level of urgency

  that qualifies for deviation from normal rulemaking procedures under the good

  cause exception, the Court is not sure what does. Cf. Florida v. Dep’t of Health &

  Hum. Servs., 19 F.4th 1271, 1290 (11th Cir. 2021) (“But recognizing that good cause

  existed in this case does not mean that the COVID-19 pandemic always will justify

  an agency’s bypassing the notice-and-comment process.”).




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        One argument against the application of the good cause exception to the

  FTMM and the ITTR is that COVID-19 has been plaguing the world since

  December 2019. In other words, COVID-19 is old news. However, the Court does

  not see a correlation between the length of the pandemic and the severity of it. In

  fact, the justification of the ITTR was the rise of and high risk associated with the

  Omicron variant, which could infect both the unvaccinated and vaccinated

  populations. 86 Fed. Reg at 69,259–60. The fact that the world has lived with

  SARS-CoV-2 for over two years, and perhaps has grown accustomed to the virus’s

  unpredictability, does not necessarily diminish the emergency or the CDC’s

  responsibility to the public health.

        Another, related argument against the application of the good cause

  exception here is that the pandemic was in full force by mid-2020, but the CDC did

  not issue the FTMM and the ITTR until 2021; that is, the CDC unreasonably

  delayed in promulgating these orders and thereby contributed to the exigent

  circumstances. This argument ignores the emergence of SARS-CoV-2 variants with

  increased transmissibility, referenced in both orders. See 86 Fed. Reg. at 8,028;

  68 Fed. Reg. at 69,259–60.

        In any event, the good cause exception is not limited to emergencies; it

  applies when “delay would do real harm.” Dean, 604 F.3d at 1279. All of the CDC’s

  good cause justifications related to the public interest: (1) the SARS-CoV-2 virus

  was extremely transmissible and has caused millions of deaths worldwide; (2) new

  variants of the SARS-CoV-2 virus continued to emerge, some of which possessed



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  increased transmissibility, and the ability of vaccines to protect individuals against

  these variants was unknown; (3) “masks prevent dispersal of an infected person’s

  respiratory droplets that carry the virus” and “also provide some protection to the

  wearer by helping reduce inhalation of respiratory droplets,” and they “prevent the

  introduction, transmission, and spread of COVID-19 into the United States and

  among the states and territories,” particularly as “[t]raveling on multi-person

  conveyances increases a person’s risk of getting and spreading COVID-19 by

  bringing persons in close contact with others, often for prolonged periods, and

  exposing them to frequently touched surfaces”; and (4) although pre-departure

  testing for SARS-CoV-2 “does not eliminate all risk,” it “monitor[s] risk and

  control[s] introduction and spread of SARS-CoV-2” and forms part of the United

  States’ “multi-layered proactive approach to combating COVID-19, concurrently

  preventing and slowing the continued introduction and spread of the virus within

  U.S. communities.” 86 Fed. Reg. at 8,028–30; 86 Fed. Reg. at 69,258–60.

        Delay in the issuance of the FTMM or the ITTR would do real harm to the

  public health—it only takes one traveler to start an outbreak and, because the

  SARS-CoV-2 virus is so persistent and mutable, the CDC must adopt a consistent,

  concerted approach. Accordingly, the good cause exception excuses the CDC’s

  failure to adhere to the notice-and-comment rulemaking procedure.

  IV.   CONCLUSION

        For the aforementioned reasons, it is ORDERED and ADJUDGED that

  Plaintiff’s Motion for Summary Judgment is DENIED and the Federal



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  Defendants’ Motion for Summary Judgment is GRANTED. The Clerk of Court is

  DIRECTED to enter judgment in favor of the Federal Defendants.

        Furthermore, the Amended Complaint only asserts state law claims against

  Defendants Greater Orlando Aviation Authority (“GOAA”) and Central Florida

  Regional Transportation Authority (“LYNX”), invoking the Court’s supplemental

  jurisdiction. (Doc. 188, p. 5, ¶¶ 413–22). Because this Order resolves the claims

  over which the Court has original jurisdiction, the Court declines to exercise its

  supplemental jurisdiction over these state law claims. 28 U.S.C. § 1367(c)(3).

  Accordingly, the claims against the GOAA and LYNX are DISMISSED

  WITHOUT PREJUDICE, and the Clerk of Court is DIRECTED to close the file.

        DONE AND ORDERED in Orlando, Florida on April 29, 2022.




  Copies furnished to:

  Counsel of Record
  Unrepresented Parties




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